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                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FIFTH CIRCUIT


UNITED STATES OF AMERICA
                    Plaintiff-Appellant
v.
                                                          No. 24-20143
EDWARD CONSTANTINESCU, PERRY
“PJ” MATLOCK, JOHN RYBARCZYK,
GARY DEEL, STEFAN HRVATIN,
TOM COOPERMAN, MITCHELL
HENNESSEY, DANIEL KNIGHT
                    Defendants-Appellees


                 STATUS REPORT CONCERNING APPEAL

      Defendant-Appellee John Rybarczyk (“Rybarczyk”), joined by his co-

defendants, respectfully files this status report with the Court subsequent to the

Supreme Court’s decision in Kousisis v. United States, 605 U.S. ____ (2025)

(“Kousisis”).

      1.     As this Court is aware, Rybarczyk and his fellow Defendants-

Appellees (“Defendants”) were charged in a superseding indictment with, as

relevant, conspiracy to commit securities fraud and securities fraud in violation of

18 U.S.C. §§ 1348 and 1349. ROA.216–259. The Government alleged that the
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Defendants pumped and dumped a number of different securities by Tweeting

about the securities and then selling the securities thereafter. ROA.220.

      2.     On September 5, 2023, the Defendants moved to dismiss the

superseding indictment. ROA.10713–10724. They argued that under the Supreme

Court’s recent decision in Ciminelli v. United States, 598 U.S. 306 (2023), which

was handed down subsequent to the indictment here, an allegation that a defendant

merely deprived someone of “potentially valuable economic information”¾i.e.

trading strategies not posted on Twitter¾is not sufficient to allege securities fraud

under the Title 18 fraud statutes. ROA.10719. The district court agreed, finding

that “Ciminelli applies squarely,” ROA.4172, and dismissed the superseding

indictment on March 20, 2024. ROA.4164–4175.

      3.     The Government has sought to appeal the district court’s decision, and

in its opening brief, the Government took the position that Ciminelli is inapplicable

to this case. The Government argues that the superseding indictment, by not

expressly pleading the facts under a “right-to-control” theory (as was done in

Ciminelli), sufficiently alleges that victims’ money, and not mere deception, was

the aim of the alleged conduct. Dkt. 50 (Gov’t Br.) at 20. In doing so, the

Government relied upon United States v. Kousisis, 82 F.4th 230 (3d Cir. 2023), in

which the Third Circuit upheld a conviction because the indictment was pled as

“fraudulent inducement” rather than under the “right-to-control” theory. Id. at 21.
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      4.     One week after the Government filed its opening brief in this appeal,

the Supreme Court granted certiorari in Kousisis, calendaring it as No. 23-909 for

the October 2024 term.

      5.     On October 21, 2024, after the defense filed its opposition brief,

Rybarczyk filed a motion to hold the appeal in abeyance pending the resolution of

Kousisis. Dkt. 73. On October 22, 2024, this motion was granted. As described,

Kousisis was decided on May 22, 2025. This status report now follows.

      6.     The defense believes that the Kousisis decision concerns the narrow

question of whether the Government must demonstrate economic loss or an intent

to cause economic harm when a defendant fraudulently induces a victim to enter

into a contract. The Supreme Court held that there was no requirement that a

defendant seek to cause the counterparty victim economic loss under such

circumstances; rather, simply obtaining money or property from a victim is

sufficient. On its face, the Kousisis decision should have little impact on this

Court’s analysis of this matter, given that the indictment does not allege any

specific transactions or contracts between the charged defendants and “victims.”

      7.     Despite this, Rybarczyk does believe that a short additional brief, no

more than 2,500 words, setting forth the import of Kousisis on this case, if any,

would be beneficial to the Court.
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        8.   In sum, Rybarczyk respectfully requests that this Court allow the

parties to file a short supplemental brief, of no more than 2,500 words, by July 31,

2025.

        9.   The Government agrees that concise supplemental briefing would be

helpful to the Court and asks this Court to permit the parties to simultaneously file

supplemental letter briefs addressing Kousisis. The Government defers to this

Court as to length and timing.

                                                Submitted by:

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                         CERTIFICATE OF SERVICE

      I certify that on June 2, 2025, I caused the foregoing motion to be served

upon all Filing Users through the Court’s Case Management/Electronic Case Files

(“CM/ECF”) system.



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                        CERTIFICATE OF COMPLIANCE

      1.       This status report complies with the type-volume limitations of Fed.

R. App. P. 27(d)(2)(A) because excluding the parts of the document exempted by

Fed. R. App. P. 32(f) and 5th Cir. R. 32.2, this document contains 611 words.

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App. P. 27(d)(1)(E), Fed. R. App. P. 32(a)(5), and 5th Cir. R. 32.1, and the type-

style requirements of Fed. R. App. P. 27(d)(1)(E) and Fed. R. App. P. 32(a)(6)

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      3.       This motion has been scanned for viruses with the most recent version

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